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 9   Attorneys for Plaintiffs and the Proposed Class

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12
                             UNITED STATES DISTRICT COURT FOR THE
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN FRANCISCO DIVISION
15

16    CAT BROOKS and RASHEED SHABAZZ,                  Case No. 3:21-cv-1418-EMC
      individually and on behalf of all others
17    similarly situated,                              STIPULATION TO SET CASE
                                                       SCHEDULE AND [PROPOSED] ORDER
18                          Plaintiffs,
             v.                                        Judge: Hon. Edward M. Chen
19

20    THOMSON REUTERS CORPORATION,

21                   Defendant.
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                   STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                                    Case No. 3:21-cv-1418-EMC
 1          Pursuant to the Court’s Minute Entry (Docket 55), Plaintiffs Cat Brooks and Rasheed Shabazz

 2   and Defendant Thomson Reuters Corporation (“Thomson Reuters”), by and through their respective

 3   counsel, hereby stipulate to the following case schedule:

 4
                      Event                                      Deadline
 5
            Exchange of Initial             September 3, 2021
 6          Disclosures

 7          Disclosure of Primary           March 1, 2022
            Class Certification
 8          Experts
 9
            Disclosure of Class             May 17, 2022
10          Certification Rebuttal
            Experts
11
            Close of Class                  June 17, 2022
12
            Certification Expert
13          Discovery

14          Deadline to Amend               July 18, 2022
            Pleadings
15

16          Motion for Class                July 18, 2022
            Certification
17
            Opposition to Class             September 12, 2022
18          Certification
19
            Reply Supporting Class          October 24, 2022
20          Certification

21          Hearing on Motion for           December 8, 2022
            Class Certification
22

23          Deadline to Pursue              Court to set deadline at December 14, 2021
            Private Mediation               case management conference (see Docket 55)
24

25          Close of Fact Discovery         February 8, 2023

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                   STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                                   Case No. 3:21-cv-1418-EMC
           Disclosure of Trial         The parties shall meet and confer within 14
 1
           Experts                     days of a ruling on the motion for class
 2                                     certification to set deadlines for trial expert
                                       disclosures and discovery, pre-trial deadlines,
 3                                     and a trial date.

 4         Disclosure of Rebuttal      Defer setting this deadline until after a ruling on
           Trial Experts               class certification.
 5

 6         Close of Expert Discovery   Defer setting this deadline until after a ruling on
                                       class certification.
 7
           Dispositive Motion          Defer setting this deadline until after a ruling on
 8         Deadline                    class certification.
 9         Pretrial conference         Defer setting this deadline until after a ruling on
10                                     class certification.
           Trial                       Defer setting this deadline until after a ruling on
11
                                       class certification.
12

13   DATED: August 26, 2021                      GIBBS LAW GROUP LLP
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                                                 By: /s/ Andre M. Mura
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                   STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                                   Case No. 3:21-cv-1418-EMC
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 5                                         Alice Buttrick (pro hac vice)
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10                                         Attorneys for Plaintiffs

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     DATED: August 26, 2021             PERKINS COIE LLP
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13                                      By: /s/ Susan D. Fahringer
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25                                          Thomson Reuters Corporation
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28                                         3
                STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                                Case No. 3:21-cv-1418-EMC
 1                               [PROPOSED] ORDER

 2        PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4   Dated:
                                          EDWARD M. CHEN
 5                                        United States District Judge
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               STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                               Case No. 3:21-cv-1418-EMC
 1                                              ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this document

 3   has been obtained from the other signatory.

 4

 5                                                              /s/ Andre M. Mura

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                   STIPULATION TO SET CASE SCHEDULE AND [PROPOSED] ORDER
                                   Case No. 3:21-cv-1418-EMC
